
281 S.W.3d 928 (2009)
In the Interest of: H.N.J. and A.C.J.
No. ED 91856.
Missouri Court of Appeals, Eastern District, Division One.
April 28, 2009.
Kourtney E. Lamb, Kramer &amp; Hand, LLC, Arnold, MO, for Appellant.
*929 Mark J. Schwartz, Hillsboro, MO, for Respondent.
Before KURT S. ODENWALD, P.J., GLENN A. NORTON, J., and PATRICIA L. COHEN, J.

ORDER
PER CURIAM.
Appellant, the biological mother of minor children H.N.J. and A.C.J., appeals the trial court's denial of her Motions to Set Aside Judgment and Order Terminating Parental Rights and Natural Mother's Motion to Withdraw Consent to Termination of Parental Rights. We affirm.
We have reviewed the briefs of the parties, the legal file, and the record on appeal, and find the claims of error to be without merit. No error of law appears. An extended opinion reciting the detailed facts and restating the principles of law would have no precedential value. The parties have been furnished with a memorandum for their information only, setting forth the reasons for our decision. We affirm the judgment pursuant to Missouri Rule of Civil Procedure 84.16(b).
